Case 8:09-cr-00540-JSM-MAP Document 48 Filed 05/27/10 Page 1 of 6 PageID 94
Case 8:09-cr-00540-JSM-MAP Document 48 Filed 05/27/10 Page 2 of 6 PageID 95
Case 8:09-cr-00540-JSM-MAP Document 48 Filed 05/27/10 Page 3 of 6 PageID 96
Case 8:09-cr-00540-JSM-MAP Document 48 Filed 05/27/10 Page 4 of 6 PageID 97
Case 8:09-cr-00540-JSM-MAP Document 48 Filed 05/27/10 Page 5 of 6 PageID 98
Case 8:09-cr-00540-JSM-MAP Document 48 Filed 05/27/10 Page 6 of 6 PageID 99
